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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

LANDON JAMES VEAL by and through his
General Guardian JOANNE PALMER                                                      PLAINTIFF

V.                                               CIVIL ACTION NO. ____________________
                                                                   3:19-cv-485-CWR-FKB

HINDS COUNTY, MISSISSIPPI,
SHERIFF VICTOR MASON, in His Individual Capacity
as Sheriff of Hinds County, Mississippi,
and JOHN AND JANE DOES 1 – 100                                                   DEFENDANTS


                            PLAINTIFF’S ORIGINAL COMPLAINT

                                      Jury Trial Demanded

       1.      This Complaint is brought by JoAnne Palmer, mother to Landon James Veal

(“Veal” or “Plaintiff”), where JoAnne Palmer is acting as General Guardian, against Hinds

County, Mississippi, Sheriff Victor Mason, and John and Jane Does 1 – 100 (hereinafter,

“Defendants”.)

                                JURISDICTION AND VENUE

       2.      Subject Matter Jurisdiction is appropriate in federal court since a federal question

is raised pursuant to 42 U.S.C. §1983 as well as the 8th and 14th Amendments to the United

States Constitution.

       3.      Venue is appropriate in this Court as all acts and/or omissions occurred in Hinds

County, Mississippi, which is located within the Southern District of the United States District

Court, Northern Division.

                                           PARTIES

       4.      Landon Veal was, at all times material to this Complaint, an adult incarcerated at

the Hinds County Detention Center (hereinafter, “HCDC”). Substantial acts, omissions, and
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events that caused his mental incapacity took place in Hinds County, Mississippi. At the time of

the incident which gives rise to this Complaint, Veal was a 35-year old citizen of the State of

Mississippi, and a pre-trial detainee incarcerated at HDCD. Due to the injuries he received at

HCDC, the Plaintiff is unable to care for himself. As a result, his mother, JoAnne Palmer

(“Guardian”) was appointed as Guardian. The Guardian brings this action on behalf of Landon

James Veal. A true and correct copy of the order appointing JoAnne Palmer in such capacity is

attached as Exhibit “A”.

        5.      Defendant, Hinds County, Mississippi, is located within the Southern District of

the United States District Court, Northern Division. Hinds County, by and through the Office of

the Hinds County Sheriff’s Department, manages and operates the HCDC. Hinds County has the

responsibility for providing humane care and treatment consistent with all constitutional and

American Correctional Association standards.           Defendant is subject to the in personam

jurisdiction of this Court by service of process upon its Board of Supervisors, by and through the

Hinds County Chancery Court Clerk, Eddie Jean Carr, who also serves as the Clerk of the Hinds

County Board of Supervisors, located at the Hinds County Chancery Courthouse, 316 South

President Street, Jackson, Hinds County, Mississippi 39201.

        Hinds County officials and policymakers knew that the HCDC was understaffed with

untrained officers as early as August 2013 when Dr. James Austin conducted his inspection of

the jail. Throughout the following years, numerous teams of experts have continued to note the

jail is not adequately staffed and that the jailers are not properly trained.

        6.      Defendant, Victor Mason, is the duly elected Sheriff of Hinds County,

Mississippi. Sheriff Mason is the policy maker for the Hinds County Sheriff’s Department,

which also includes the HCDC. Sheriff Mason knew years prior to this incident that the HCDC



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was understaffed with untrained officers. Sheriff Mason was also placed on notice about the

numerous other problems at the jail including faulty cell doors, which do not lock, and the

inability to protect inmates from harm. Sheriff Mason took office in January 2016 and attended

numerous court hearings regarding the consent decree with the United States of America which

was entered into on June 23, 2016. See U.S. v. Hinds County, et. al. 3:16-cv-489. Over the course

of the next several years, independent expert jail consultants have continued to note the jail was

not adequately staffed, that the jailers were not trained, that cell doors continued to be faulty and

that inmates were not being protected from harm. Sheriff Mason ignored requests/demands to

provide more jailers. Previous litigation revealed that HCDC staffed one (1) jailer per pod, which

was deemed inadequate by past independent court appointed experts. Nonetheless, for months

prior to Veal’s assault, records clearly showed that there were no jailers assigned to cover the

individual pods and those jailers assigned elsewhere at HCDC were inadequately trained and

supervised. Sheriff Mason knew that HCDC was dangerously understaffed with untrained jailers

years prior to this incident and it was therefore foreseeable that this would create a dangerous

environment for inmates like Veal. Sheriff Mason’s inactions created a policy at the HCDC of

understaffing the jail with untrained jailers and failing to protect inmates, like Veal, from harm.

Accordingly, Sheriff Mason is being sued in his individual capacity. Sheriff Mason may be

served with process at his place of employment or residence.

       7.      Plaintiff is ignorant as to the identities of Defendant John and Jane Does 1-100

who are unknown officers, employees, agents, and or servants of the Hinds County Sheriff’s

Department and/or Defendants. Plaintiff will amend this Complaint to allege their true names

and allege that each of the fictitiously named Doe Defendants are responsible in some manner

for the occurrences herein alleged, and that Veal’s damages, as alleged herein, were proximately



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caused by their conduct. Plaintiff, upon information and belief, asserts that the Doe Defendants

were the officers, agents, servants, and employees of the Defendants herein, and were at all times

acting under color of law with the permission and consent of Defendant within the course and

scope of their employment.

                                              FACTS

       8.      On or about September 18, 2018, Veal was incarcerated at HCDC. At 8:41 p.m.,

while the inmates were out of their cells in C Pod, there was an incident between several inmates

which led to Veal being hit in the head several times which left him unconscious. Veal suffered

permanent brain damage as a result of this assault.

       9.      The HCDC is comprised of three pods; A, B and C. Each pod has one guard tower

and four (4) housing units numbered 1, 2, 3 and 4. Historically, each housing unit had one floor

officer assigned. As shown below, every independent expert that has visited HCDC since 2013

has opined that one floor officer per separate housing unit is inadequate to protect inmates from

violence. Regardless, for months, if not years, prior to this incident, Hinds County and Sheriff

Mason failed to have any correctional officers assigned to the housing units. The inmates were

left unsupervised and essentially, they policed the housing units as they saw fit.

       10.     As noted in previous litigation and the expert reports, the locking mechanisms on

the cell doors at the HCDC do not properly function. This results in the inmates being out of

their cells, 24 hours a day, unsupervised and left to their own devices. Further, HCDC jailers fail

to conduct routine safety checks to ensure that inmates are safe.

       11.     Plaintiff’s Counsel has obtained surveillance video from the HCDC for September

18, 2018. The video clearly shows a jail which is out of control. Hinds County and Sheriff

Mason have essentially relinquished control of the jail to the inmates. There are no guards



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assigned to the floor. Inmates wander around freely, in and out of cells. There is no supervision.

This is unacceptable in a jail setting and constitutes unsound correctional practice.

         12.   At 8:23 p.m. on the surveillance video, inmates can be seen wrapping their faces

in t-shirts to hide their faces. It was apparent that the inmates were preparing to attack other

inmates. Unfortunately, there were no jailers on the floor to intercede and stop the inmates.

Apparently, no one was monitoring the surveillance video either.

         13.   At 8:41 p.m., the inmates charged to the opposite side of the pod. Veal was

standing outside of his cell. The surveillance video shows that Veal was not bothering anyone,

nor was he involved in what was going on, yet, Veal was knocked to the ground by an unknown

inmate, then beaten by numerous inmates. The assault lasted several minutes, as revealed by the

video.

         14.   At 10:14 p.m., there was another altercation at HCDC stemming from the

altercation which Veal was involved in and Officer Vincent Williams contacted the supervisor of

the patrol division for support, “due to the staff shortage at [HCDC].”

         15.    Veal was taken to medical to be examined. At 10:00 p.m., Veal was transported

to Central Mississippi Medical Center (“CMMC”) to be further evaluated.

         16.   CT Scans and other tests were performed, and Veal was admitted to CMMC

where he remained for several days. Veal remained very confused and minimally responsive.

         17.    Eight days later, on September 26, 2018, Veal was discharged from CMMC back

to HCDC with a suggestion that he continue his prescriptions of Depakote and Zyprexa.

         18.   The patient notes from the HCDC medical team noted that Veal was returned to

the facility with little to no movement of his extremities and that he needed complete assistance

with all activities of daily living. Veal was put under medical observation to be watched.



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        19.     The following day it was noted that Veal had swelling to his lips, was drooling

and was rolling on the floor in a soiled jumpsuit due to incontinence. Veal continued in this

manner, without his medication, until he was admitted this time to University Mississippi

Medical Center (“UMMC”) on September 28, 2018.

        20.     An MRI taken at UMMC showed extensive parenchymal micro hemorrhages that

were consistent with severe traumatic brain injury. Neurological reports indicate that this is

likely Veal’s new normal, in other words his brain injury is permanent. UMMC started him back

on the Zyprexa and Depakote. Veal remained hospitalized for several months. As a result of the

assault at HCDC, Veal sustained permanent brain damage and will need medical treatment for

the foreseeable future, possibly for the rest of his life.

        21.     Hinds County officials, including the Board of Supervisors and Sheriff Mason,

have long been aware of the dangerous, violent and poor conditions at the HCDC.

Representatives from the Hinds County Sheriff’s Department have regularly advised the Hinds

County Board of Supervisors (“Board”) about the many problems at HCDC, requesting that the

problems be addressed.          In response to numerous repeat incidents of violence and inmate

uprisings that have occurred at the HCDC within a three-year span of time, as well as the public

outcry and media attention garnered by said incidents, the Hinds County Circuit Court entered an

Order on July 23, 2013, mandating that the Hinds County Grand Jury perform an intensive and

in-depth evaluation of the conditions of the Detention Center, and make its recommendations to

the Court as to its findings.

        22.     On September 17, 2013 the Report of the Hinds County Grand Jury was filed with

the Circuit Clerk of the First Judicial District of Hinds County, wherein it determined that “the

Hinds County Detention Center (HCDC) is in deplorable condition and inadequately staffed. In



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its present state, the HCDC poses major security risks to inmates, staff of the facility, visitors to

the facility, and to the citizens of Hinds County. The facility also poses a major liability risk to

Hinds County.” The Report adopted the Assessment Report generated by Dr. James Austin, Ph.

D; his sixteen (16) page Report prepared at the request of the Grand Jury documented numerous

egregious and emergent issues in existence at the Detention Center warranting immediate

correction. See Report of Hinds County Grand Jury attached hereto and incorporated herein by

reference as Exhibit “B”. Despite the Grand Jury Order, compliance by Hinds County officials

was minimal, at best.

       23.     In response to an egregious number of serious incidents that have occurred in

recent years at the HCDC (many of which having taken place after the Grand Jury’s Report) that

have not only resulted in serious physical harm (including death) to both staff and inmates, but

undue property damages, financial loss and the denial of inmates’ constitutional rights, the

United States Department of Justice’s Civil Rights Division (“DOJ”) instituted an in-depth

investigation into the facility and its conditions. On May 21, 2015 the DOJ released its findings,

pursuant to the Civil Rights of Institutionalized Persons Act, 42 U.S.C. § 1997. The twenty-nine

(29) page Report (hereinafter, “DOJ Report”) concludes that the HCDC is in violation of the

Eighth and Fourteenth Amendments of the United States Constitution, outlining therein a pattern

and practice of Constitutional violations and mandating the immediate implementation of very

specific remedial measures. See Report attached hereto and incorporated herein by reference as

Exhibit “C”.

       24. As a result of the DOJ report, Hinds County entered into a consent Decree on June

23, 2016 with the DOJ a copy of which is attached as Exhibit “D”. Hinds County agreed to, inter

alia, develop policies and procedures to protect inmates from harm, hire sufficient numbers of



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jailers and provide training and supervision over these jailers to ensure that inmates are protected

from harm. The court appointed a group of experts to make periodic visits to the jail to ensure

Hinds County was complying with the consent decree.

       25. During the course of monitoring the consent decree the court held numerous hearings,

both in person and telephonically. Hinds County officials, including Sheriff Mason, were present

for several of these hearings. During the hearings, one of the court appointed experts would

present summary testimony concerning the most recent onsite visits. Below is the list of

hearings:

       7/19/16- Telephone Conference, Counsel for all parties present

       2/17/17- Telephone Conference Counsel, for all parties present (Judge asked the Sheriff
       and Hinds County Board of Supervisors be present for upcoming in-person conference)

       7/10/17- Counsel for Hinds County and Sheriff present

       9/20/17- Counsel for Hinds County and Sheriff present, Hinds County representative and
       Sheriff present

       10/25/17- Counsel for Hinds County and Hinds County representative and Sheriff present

       12/5/17- Counsel for Hinds County and Sheriff present and Hinds County representatives
       present

       3/8/18- Counsel for Hinds County and Sheriff present and Hinds County Representatives
       present

       8/29/18- Counsel for Hinds County and Sheriff present

       11/30/18- Counsel for Hinds County and Sheriff present (teleconference)

       1/15/19- Counsel for Hinds County and Sheriff present, Hinds County Representatives
       and Sheriff Present

       5/21/19- Counsel for Hinds County and Sheriff present, Hinds County Representatives
       and Sheriff Present.

       As a result of attending the hearings, Hinds County and Sheriff Mason had firsthand



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knowledge, prior to Veal’s incident, about the unconstitutional conditions of confinement at the

HCDC.

       26. In 2018, conditions remained poor at HCDC, if not worse. The Court Appointed

Monitoring Report filed in November of 2018, which is attached as Exhibit “E”, shows that the

already low staffing numbers had dropped from 251 in October 2017 to 231 in June 2018. An

approved policy and procedures manual was still not in place even after two years of monitoring.

There were 92 requirements that were set forth in the consent decree. Of those 92, HCDC

remained non-compliant in 54 areas. Hinds County and Sheriff Mason have blatantly ignored

their duties to protect inmates from harm as set forth in the consent Decree. During the four

months between the September 2018 and January 2019 site visits, there were 30 inmate assaults

reported at HCDC including multiple stab wounds and lacerations.

       27. The Court Appointed Monitoring Report filed March 5, 2019, attached as Exhibit

“F”, shows no appreciable progress in three critical areas: staffing, security and the development

of policies and procedures. The expert findings are set forth verbatim: “Over the past year and a

half, the number of filled positions has fluctuated between 231 and 251. The current number of

officers available represents a decrease of 13 since the previous site visit. Because of the staff

shortage, none of the general housing units at the Raymond Detention Center (RDC) have an

officer assigned inside so as to permit direct supervision of the inmates. In fact, on separate day

shift inspections during the January 2019 site visit, no officers were on duty (other than the

control room officer) in two out of three pods. In Housing Unit A1 (Juvenile) no officer was

present. In Pod C, 1 ISO (Mental Health) and 4 ISO (Suicide Watch) were both covered by one

officer. Technically, that is impossible, because inmates on suicide watch require constant

supervision. On a subsequent inspection, the officer assigned to cover both of these posts was



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located sitting in a chair in the control room. As noted in previous reports, because of the

shortage of staff, and the fact that no officers are assigned to work inside the housing units,

assaults and escapes (to retrieve contraband from outside the facility) are often not discovered as

they occur, rather after the fact. Since the time of the last site visit there were 30 inmate assaults

reported at RDC including multiple stab wounds and lacerations.” The cell doors, a basic

security requirement, are still malfunctioning: “Inoperative and malfunctioning security doors

throughout the Jail System have always been a significant problem, as has been documented in

detail in each of the previous Monitoring Reports. Unfortunately, instead of making progress

toward rectifying this situation, Hinds County has allowed it to degenerate to a critical and

dangerous level. Because so many of the housing unit entry slider doors at the RDC no longer

work, there is only one set of keys available in each pod and the retrofitted safety vestibule

(cage) doors are left open when officers enter the units, there is the potential for a large-scale

security breach.”

       28. The latest Court Appointed Monitoring Report on June 27, 2019, attached as Exhibit

“G”, was filed just the day before a riot took place at the facility that led to several inmates being

taken to hospitals. This report shows little to no progress in making improvements at the HCDC.

The Monitor’s report led the United States Department of Justice to file a motion seeking a

contempt ruling against Hinds County, attached as Exhibit “H”. The memorandum brief in

support of the motion states that

               Defendants have missed the deadlines, failed to implement the
               Court-appointed Monitor’s technical assistance recommendations,
               and provided no plan to comply with the Settlement. The Jail
               remains a violent, dangerous facility, with numerous assaults
               and a recent prisoner-on prisoner homicide.

       Ex. H @ p. 2. (emphasis supplied).



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                     1983 CAUSES OF ACTION:
           EIGHTH AND FOURTEENTH AMENDMENT VIOLATIONS:
PROTECTION FROM HARM AND DANGEROUS CONDITIONS OF CONFINEMENT

       29.    Plaintiff incorporates all allegations set forth in Paragraphs 1 through 28

hereinabove. Hinds County, acting by and through its elected and appointed officials, and

Sheriff Mason acted with deliberate indifference in the allegations listed above. The Plaintiff

incorporates herein all expert reports and DOJ pleadings attached as Exhibits B-H discussing the

conditions of the HCDC.

       30.    Defendant Hinds County, by and through Sheriff Mason and Doe Defendants 1-

100 in their individual and official capacities, established customs, policies and procedures

which directly and proximately caused the deprivation of the Plaintiff’s constitutional rights as

alleged herein. Defendants were deliberately indifferent to the safety of Veal and other inmates

housed at the HCDC. As a result of these policies, the Defendants failed to protect Veal and

created unconstitutional conditions of confinement.

       31.    Such unwritten policies, customs and practices include, but are not limited to the

following:

              a.      inadequate and improper training, supervision and discipline of
              corrections officers;

              b.      inadequate and improper procedures and practices in screening,
              hiring, training, supervising and disciplining officers who practice,
              condone or use excessive force upon inmates, including the plaintiff in
              violation of their constitutional rights.

              c.      inadequate and improper procedures, policies and practices for
              investigating improper activities by officers either through offender
              complaints of misconduct or through internally-initiated complaints or
              investigations.

              d.      inadequate or improper procedures, policies and practices for
              identifying and taking appropriate action against officers who are in need
              of re-training, corrective measure, reassignment, or other non-disciplinary

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               actions, through a positive or early warning system designed to prevent the
               violation of inmates’ rights.

               e.     officers condoning and allowing inmates to fight;

               f.     failing to protect inmates from harm;

               g.    failing to prevent incidents of violence about which Hinds County
               employees had warning;

               h.     failure to properly classify inmates;

               i.     failure to have a protective custody system;

               j.     maintaining a jail with inadequate security, such as properly
               locking cell doors and knowingly allowing inmates access to materials
               which they then turned into “shanks”;

               k.     failing to address the smuggling of contraband into the facility; and

               l.      the chronic understaffing at the jail and hiring jailers with little to
               no training or supervision.

               m.     Failing to conduct shakedowns to recover contraband.

               n.     Failing to conduct safety checks in housing units or having officers
               assigned to housing units

       32.     By exhibiting deliberate indifference to the substantial risk of harm Veal faced as

a result of Hinds County’s policies and practices set forth above, which resulted in his assault by

other inmates and generally failing to protect Veal from harm, the Defendants, Hinds County and

Sheriff Mason, violated Veal’s right to be free from cruel and unusual punishment under the

Eighth and Fourteenth Amendments to the United States Constitution.

                              EPISODIC ACTS OR OMISSIONS

       33.     Plaintiff incorporates all allegations set forth in Paragraphs 1 through 32

hereinabove.




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        34.       As demonstrated in the DOJ Reports and other expert findings and DOJ

pleadinng contained in Exhibits B-H, Hinds County and Sheriff Mason maintained and operated

a jail in such a manner as to cause the pervasive deprivation of inmates’ constitutional rights in

every respect and at every level. Veal was forced to live in this jail and endure the action and

inaction of its officials, as well as the jailers and jail staff acting in accordance with jail policies,

customs and practices, under color of law, exhibiting callous and deliberate indifference, in

depriving him of his rights guaranteed under the Constitution and laws of the United States.

        35.     Hinds County and Sheriff Mason, as well as jailers and jail staff acting pursuant

to jail policy, practice and customs, created and required inmates to live in a jail that was

deficient in so many respects that it was not suitable for human confinement. These actions

resulted in the infliction of punishment on each of the inmates who were forced to live there,

including Veal.

        36.     As shown hereinabove, Hinds County and Sheriff Mason and/or other Doe

Defendants adopted, implemented and permitted many other policies, practices and customs that

deprived most, if not all, inmates, including Veal, of their right to be protected from harm and

their right not to be punished during their pretrial confinement. These included policies, customs

and practices, whether written or unwritten, that were expressly announced, sanctioned and/or

implemented by Sheriff Mason as final policymaker of the HCDC. They also included policies,

practices and customs which, though possibly not formally adopted, had become so widespread,

well-settled and deeply imbedded in their application, use, employment and acceptance in the jail

to have become the policies of these Defendants.

        37.     The policies, practices and customs set forth in the preceding paragraph, as well

as others which may come to light in the course of this litigation, resulted in numerous, repeated,



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pervasive and persistent deprivations of inmates’ rights to be protected from harm under both the

Eighth and Fourteenth Amendments at the HCDC. Veal was brutally assaulted by inmates due

to the Defendant’s unconstitutional policies, practices and customs.

        38.     Jailers and jail staff, including the Doe Defendants, acted, or failed to act, in

accordance with the official policies, customs and practices of Sheriff Mason and Hinds County,

or at the direction of and with the approval of these officials, in depriving Veal of his rights as

described herein. The policies, practices and customs were moving forces in the action and

inaction for jailers, and jail staff, and these jailers and jail staff acted with deliberate indifference

to the rights, welfare and medical needs of and other constitutional rights of Veal.

        39.     The deprivation of Veal’s rights by Defendants, as described herein, directly and

proximately caused Veal to suffer severe permanent physical and mental personal injury. Veal

suffered excruciating pain, and extraordinary mental and emotional pain and anguish.

        40      Plaintiff seeks recovery of all compensatory damages to which Veal is entitled.

Plaintiff further seeks recovery of punitive damages from Sheriff Mason, and the individual Doe

Defendants named herein (all in their individual capacities,) for the conduct in callous and

reckless disregard for the rights, welfare and needs of Veal.

                                          RATIFICATION

        41.     Hinds County, its policymakers, specifically Sheriff Mason, and the Doe

Defendants 1-100 were advised about the Hinds County incident involving Veal. Hinds County,

by and through its policymakers, specifically Sheriff Mason, ignored evidence of a widespread

disregard of policies and procedures intended for the protection of inmates including Veal, and

systemic deficiencies that violated the Veal’s constitutional rights. Based on information and

belief, not one officer, supervisor, or any other person was disciplined, considered for discipline,



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or even retrained on policies intended for the protection of inmates. Instead, the policymakers

approved the actions of the jailers and therefore ratified those actions.

        42.     Through these acts and omissions of ratification, Hinds County’s policymakers

were deliberately indifferent to Veal’s constitutional rights as set forth herein. A plaintiff can

establish a municipal liability claim by showing that a final municipal policymaker approved an

investigation that was “so inadequate as to constitute a ratification” of the misconduct. Wright v.

City of Canton, 138 F. Supp.2d 955, 966 (N.D. Ohio 2001). “If the authorized policymakers

approve a subordinate’s decision and the basis for it, their ratification would be chargeable to the

municipality because their decision is final.” City of St. Louis v. Praprotnik, 485 U.S. 112, 127

(1988). An isolated decision by a municipal official that is not intended to control future

decisions can nonetheless give rise to municipal liability. Pembaur v. City of Cincinnati, 475

U.S. 469, 480-81 (1986). Hinds County ratified the actions of its employees and is therefore

liable for Veal’s injuries.

                                      PUNITIVE DAMAGES

        43.     The Plaintiff incorporates all allegations set forth in Paragraphs 1 through 42

hereinabove.

        44.     Sheriff Mason acted in complete disregard for the safety of Veal by acting in a

manner as previously described herein. Sheriff Mason’s actions, in his individual capacity,

warrant punitive damages to deter similar conduct in the future.

                                     PRAYER FOR RELIEF

        Joanne Palmer, as guardian for Veal, respectfully prays for the following relief:

        A.      Compensatory damages of, from and against the Defendants, in amount to be

determined by this Court.



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        B.      Punitive damages of, from and against the Defendant Sheriff Mason, in his

individual capacity in an amount to be determined by this Court.

        C.      Payment of medical expenses.

        D.      Reasonable attorney’s fees and all costs of this court.

        E.      Pre and post judgment interest.

        F.      Such other general and special relief as appears reasonable and just in this cause.

        RESPECTFULLY SUBMITTED, THIS the 10th day of July 2019.

                                               LANDON VEAL, BY AND THROUGH HIS

                                               GUARDIAN, JOANNE PALMER

                                       BY:      /s/ Charles R. Mullins       __________________
                                               CHARLES R. MULLINS

OF COUNSEL:

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